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The Honorable Robert J. Bryan

 

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT TACOMA

UGOCHUKWU GOODLUCK

NWAUZOR, FERNANDO AGUIRRE-
URBINA, individually and on behalf of all

those similarly situated,

Plaintiffs,

V.

THE GEO GROUP, INC., a Florida

corporation,

Defendant.

No. 17-cv-05769-RJB

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TABLE IDENTIFYING
PLAINTIFFS’ DEPOSITION
DESIGNATIONS AND
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In accordance with this Court’s letter dated May 8, 2020 (Dkt. No. 305), Plaintiffs

respectfully identify for the Court the following deposition designations and Defendant’s

objections thereto:

 

 

 

 

 

ERWIN DELACRUZ
Designation Objection Sustained Overruled
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DEPOSITION DESIGNATIONS AND
DEFENDANT’S OBJECTIONS - 1

(17-cv-05769-RJB )

SCHROETER GOLDMARK & BENDER

810 Third Avenue e “Suite 500 » Seattle, WA 98104
Phone (206) 622-8000 » Fax (206) 682-2305

 
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7:4-8:20 “Foundation, FRE 402; 701, 802.” ie
12:9-20 | “Foundation, FRE 402, 701, 802.” a
16:6-8 “Foundation, FRE 402, 701, 802.” [~
18:10-13 | “Foundation, FRE 402, 701, 802.” L~
18:16-19 | “Foundation, FRE 402, 701, 802.” lL
18:21-22 | “Foundation, FRE 402, 701, 802.” i
19:16-17 | “Foundation, FRE 402, 701, 802.” i
21:14-23:11 | “Foundation, FRE 402, 701, 802.” L~
29:12-14 | “Foundation, FRE 402, 701, 802.” L—
29:17-24 | “Foundation, FRE 402, 701, 802.” LY
33:2-7 “Foundation, FRE 402, 701, 802.” LL
35:13-15 | “Foundation, FRE 402, 701, 802.” L~
35:17-36:10 | “Foundation, FRE 402, 701, 802.” a
41:1-4 | “Foundation, FRE 402, 701, 802.”
45:17-24 | “Foundation, FRE 402, 701, 802.” ~~
47:15-17 | “Foundation, FRE 402, 701, 802.” L-
47:19-23 | “Foundation, FRE 402, 701, 802.” Le
48:3-25 | “Foundation, FRE 402, 701, 802.” Ll
49:2-8 “Foundation, FRE 402, 701, 802.” Ll

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’

SCHROETER GOLDMARK & BENDER

 

 

DEPOSITION DESIGNATIONS AND
DEFENDANT’S OBJECTIONS - 2
(17-cv-05769-RIB )

810 Third Avenue e “Suite 500 « Seattle, WA 98104
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eeseen Objection Sustained Overruled
Page/Line
50:2-5 “Foundation, FRE 402, 701, 802.” Lb
52:9-10 “Foundation, FRE 402, 701, 802.” —
$2:12-14 “Foundation, FRE 402, 701, 802.” lL
52:16-23 “Foundation, FRE 402, 701, 802.” ber"
54:1-3 “Foundation, FRE 402, 701, 802.” tL
54:23-25 “Foundation, FRE 402, 701, 802.” i—
55:16-23 “Foundation, FRE 402, 701, 802.” ee
55:25-56:7 “Foundation, FRE 402, 701, 802.” ~
56:9-12 “Foundation, FRE 402, 701, 802.” Law
56:14 “Foundation, FRE 402, 701, 802.” L—
57:23-58:4 11 | “Foundation, FRE 402, 701, 802.” a
58:6 “Foundation, FRE 402, 701, 802.” —
58:8-11 “Foundation, FRE 402, 701, 802.” —
59:20-62:10 | “Foundation, FRE 402, 701, 802.” L-
64:1-67:18 | “Foundation, FRE 402, 701, 802.” L~
69:14-70:5 | “Foundation, FRE 402, 701, 802.” 4
70:11-13 ‘Foundation, FRE 402, 701, 802.” L—
TO:15 “Foundation, FRE 402, 701, 802.” L=
70:17 “Foundation, FRE 402, 701, 802.” a

 

 

 

 

 

TABLE [IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

SCHROETER GOLDMARK & BENDER

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Penn Objection Sustained Overruled
Page/Line
70:21-71:15 | “Foundation, FRE 402, 701, 802.” L~
71:17-20 “Foundation, FRE 402, 701, 802.” i
71:22-72:8 | “Foundation, FRE 402, 701, 802.” Lb
74:15-83:13 | “Foundation, FRE 402, 701, 802.” ia
84:3-5 “Foundation, FRE 402, 701, 802.” i
84:7-8 “Foundation, FRE 402, 701, 802.” a
84:21-87:25 | “Foundation, FRE 402, 701, 802.” a
88:2-19 ‘Foundation, FRE 402, 701, 802.” ~~
88:21-89:9 | “Foundation, FRE 402, 701, 802.” LL
89:11-14 “Foundation, FRE 402, 701, 802.” Lt
89:16 “Foundation, FRE 402, 701, 802.” Le
89:22-25 “Foundation, FRE 402, 701, 802.” Lo
91:5-14 “Foundation, FRE 402, 701, 802.” Le
93:5-10 “Foundation, FRE 402, 701, 802.” —
95:13-96:15 | “Foundation, FRE 402, 701, 802.” —
96:17-97:1 “Foundation, FRE 402, 701, 802.” L—
97:3-6 “Foundation, FRE 402, 701, 802.” be
97:8-11 “Foundation, FRE 402, 701, 802.” Ler
STS “Foundation, FRE 402, 701, 802.” ~~

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

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ee Objection Sustained Overruled
101:8-102:2 | “Foundation, FRE 402, 701, 802.” uu
102:19-23 “Foundation, FRE 402, 701, 802.” a
105:14-17 “Foundation, FRE 402, 701, 802.” i
105:19-106:9 | “Foundation, FRE 402, 701, 802.” ue
109:4-6 . | “Foundation, FRE 402, 701, 802.” —
109:8-10 “Foundation, FRE 402, 701, 802.” ae
113:2-15 “Foundation, FRE 402, 701, 802.” ~~
113:23-24 “Foundation, FRE 402, 701, 802.”
114:1 “Foundation, FRE 402, 701, 802.” ie
114:10-23 “Foundation, FRE 402, 701, 802.” _
114:25-116:5 | “Foundation, FRE 402, 701, 802.” ta
119:9-22 “Foundation, FRE 402, 701, 802.” tL
120:5-7 “Foundation, FRE 402, 701, 802.” all
120:9-14 “Foundation, FRE 402, 701, 802.” be
120:20-121:6 | “Foundation, FRE 402, 701, 802.” (C—
122:3-5 “Foundation, FRE 402, 701, 802.” L-
122:17-18 “Foundation, FRE 402, 701, 802.” L-
-

122:20-124:12

“Foundation, FRE 402, 701, 802.”

 

 

125:8-10

 

“Foundation, FRE 402, 701, 802.”

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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Page/Line
125:12-17 “Foundation, FRE 402, 701, 802.” Lo
125:19-23 “Foundation, FRE 402, 701, 802.” i
125:25-126:4 | “Foundation, FRE 402, 701, 802.” L—
126:16-20 “Foundation, FRE 402, 701, 802.” Pal
127:8-10 “Foundation, FRE 402, 701, 802.” t~
MICHAEL HEYE
Deena Objection Sustained Overruled
Page/Line
6:6-7 Pea
7:7-8 ue
9:7-10-6 Foundation, FRE 402, 701, 802. a
108-13 Foundation, FRE 402, 701, 802.” ~—
10-18 Foundation, FRE 402, 701, 802. —
16:24-17:6 ue
18:2-14 (—
20:14-21:4 “Foundation, FRE 402, 701, 802.” L—
21:8-18 “Foundation, FRE 402, 701, 802.” lL
92-2-8 Foundation, FRE 402, 701, 802. oe
—
22:13-24 | “Foundation, FRE 402, 701, 802.” te

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

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MICHAEL HEYE
aie Objection Sustained Overruled
23:19-24:7 ‘Foundation, FRE 402, 701, 802.” bo
25:18-26:3 ‘Foundation, FRE 402, 701, 802.” tb
32:5-8 “Foundation, FRE 402, 701, 802.” Le
32:10-13 “Foundation, FRE 402, 701, 802.” ta
32:15-16 | “Foundation, FRE 402, 701, 802.” Le
32:18-19 “Foundation, FRE 402, 701, 802.” L—
42:4-13 “Foundation, FRE 402, 701, 802.” uu
43:10-44:1 a
44:18-46:1 “Foundation, FRE 402, 701, 802.” i
49:20-50:16 | “Foundation, FRE 402, 701, 802.” ee
51:3-52:9 “Foundation, FRE 402, 701, 802.” —
52:15-53:4 “Foundation, FRE 402, 701, 802.” L~
53:10-54:11 | “Foundation, FRE 402, 701, 802.” ee
54:22-55:8 “Foundation, FRE 402, 701, 802.” Le
55:11-56:18 | “Foundation, FRE 402, 701, 802.” —
57:21-59:23 | “Foundation, FRE 402, 701, 802.” nw
60:12-61:24 | “Foundation, FRE 402, 701, 802.” L
62:16-23 “Foundation, FRE 402, 701, 802.” “A
68:23-69:18 | “Foundation, FRE 402, 701, 802.” a

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’

SCHROETER GOLDMARK & BENDER
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DEPOSITION DESIGNATIONS AND
DEFENDANT’S OBJECTIONS - 7
(17-cv-05769-RJB )

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eee Objection Sustained Overruled
age/Line
71:14-25 ‘Foundation, FRE 402, 701, 802.” ue
72:3-4 a
74:9-20 “Foundation, FRE 402, 701, 802.” a
81:15-82:14 | “Foundation, FRE 402, 701, 802.” ~~
87:2-8 “Foundation, FRE 402, 701, 802.” L~
87:11-88:4 | “Foundation, FRE 402, 701, 802.” nw
88:11-13 “Foundation, FRE 402, 701, 802.” ir
89:4-8 “Foundation, FRE 402, 701, 802.” be
90:5-7 “Foundation, FRE 402, 701, 802.” beet
90:9-12 “Foundation, FRE 402, 701, 802.” —
90:14-16 “Foundation, FRE 402, 701, 802.” a
90:18-21 “Foundation, FRE 402, 701, 802.” —
90:23-91:2 “Foundation, FRE 402, 701, 802.”
91:4-10 “Foundation, FRE 402, 701, 802.” a
91:13-14 “Foundation, FRE 402, 701, 802.” be
91:16-21 “Foundation, FRE 402, 701, 802.” Le
91:23-25 “Foundation, FRE 402, 701, 802.” a
92:2-1] “Foundation, FRE 402, 701, 802.” a
94:8-96:24 | “Foundation, FRE 402, 701, 802.” a

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RIB )

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MICHAEL HEYE
aeons Objection Sustained Overruled
Page/Line
97:3-5 “Foundation, FRE 402, 701, 802.” um
97:13-98:9 “Foundation, FRE 402, 701, 802.” L~
106:20-22 “Foundation, FRE 402, 701, 802.” LL
106:24-107:5 | “Foundation, FRE 402, 701, 802.” ee _—
107:7-22 “Foundation, FRE 402, 701, 802.” —
107:24 “Foundation, FRE 402, 701, 802.” ~
108:10-14 “Foundation, FRE 402, 701, 802.” ee
114:14-15 “Foundation, FRE 402, 701, 802.” te
115:7-10 “Foundation, FRE 402, 701, 802.” uw
115:24-116:7 | “Foundation, FRE 402, 701, 802.” a
MARC A. JOHNSON
peoeuarion Objection Sustained | Overruled
Page/Line
5:9-10 La
5:21-25 -~
7:16-8:23 | “Foundation, FRE 402, 701, 802.” \~
9a ~
11:16-17 “Foundation, FRE 402, 701, 802.” a
12:3-21 “Foundation, FRE 402, 701, 802.” um
TABLE IDENTIFYING PLAINTIFFS’ SCHROETER GOLDMARK & BENDER
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DEFENDANT’S OBJECTIONS - 9
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MARC A. JOHNSON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cn Objection Sustained Overruled
age/Line
20:9-12 “Foundation, FRE 402, 701, 802.” a
20:14-20 “Foundation, FRE 402, 701, 802.” i
25:20-26:5 | “Foundation, FRE 402, 701, 802.” a
26:16-23 | “Foundation, FRE 402, 701, 802.” L—
26:25-27:1 | “Foundation, FRE 402, 701, 802.” te
27:3-10 “Foundation, FRE 402, 701, 802.” e—
27:16-28:23 | “Foundation, FRE 402, 701, 802.” —
29:14-30:23 | “Foundation, FRE 402, 701, 802.” Lb
32:9-33:10 | “Foundation, FRE 402, 701, 802.” —
33:12-34:6 “Foundation, FRE 402, 701, 802.” lL
46:6-23 “Foundation, FRE 402, 701, 802.” L-
46:25 “Foundation, FRE 402, 701, 802.” ue
47:8-13 “Foundation, FRE 402, 701, 802.” —
47:15 “Foundation, FRE 402, 701, 802.” —
48:23-2 “Foundation, FRE 402, 701, 802.” oe
49:2 “Foundation, FRE 402, 701, 802.”
49:12-14 | “Foundation, FRE 402, 701, 802.” ie
50:2-6 “Foundation, FRE 402, 701, 802.” Poe
50:8-10 “Foundation, FRE 402, 701, 802.” i

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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SCHROETER GOLDMARK & BENDER
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MARC A. JOHNSON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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50:12 “Foundation, FRE 402, 701, 802.” Lo
$1:3-10 “Foundation, FRE 402, 701, 802.” i
$1:12-18 | “Foundation, FRE 402, 701, 802.” -—
51:22-25 __| “Foundation, FRE 402, 701, 802.” L—
§2:16-25 | “Foundation, FRE 402, 701, 802.” a
53:20-54:3 | “Foundation, FRE 402, 701, 802.” i
54:10-11 | “Foundation, FRE 402, 701, 802.” a
54:14-18 | “Foundation, FRE 402, 701, 802.” a
54:24-55:12 | “Foundation, FRE 402, 701, 802.” ——
55:14 “Foundation, FRE 402, 701, 802.” —
55:19-57:3 | “Foundation, FRE 402, 701, 802.” ee
57:12-58:3 | “Foundation, FRE 402, 701, 802.” ~
58:6-9 “Foundation, FRE 402, 701, 802.” LU
58:21-59:11 | “Foundation, FRE 402, 701, 802.” L-
59:18-60:11 | “Foundation, FRE 402, 701, 802.” L-
60:14-18 | “Foundation, FRE 402, 701, 802.” i
60:23-61:2 | “Foundation, FRE 402, 701, 802.” Lt
62:7-8 “Foundation, FRE 402, 701, 802.” cL
62:20-24 | “Foundation, FRE 402, 701, 802.” L-

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RIB )

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MARC A. JOHNSON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Bese natant Objection Sustained Overruled
Page/Line
63:1-20 “Foundation, FRE 402, 701, 802.” i
64:3-17 “Foundation, FRE 402, 701, 802.” a
65:22-66:2 | “Foundation, FRE 402, 701, 802.” i
68:6-12 “Foundation, FRE 402, 701, 802.” ra
68:18-21 “Foundation, FRE 402, 701, 802.” Le
69:16-70:8 “Foundation, FRE 402, 701, 802.” L
71:20-24 | “Foundation, FRE 402, 701, 802.” tL
72:12-18 | “Foundation, FRE 402, 701, 802.” a
73:24-74:7 | “Foundation, FRE 402, 701, 802.” a
BRUCE SCOTT, JR., GEO 30(B)(6) DESIGNEE
esi suen Objection Sustained Overruled
Page/Line
6:9-12 -
6:22-25 tL
7:5-8:4 “Foundation, FRE 402, 701, 802.” a
8:6-11 “Foundation, FRE 402, 701, 802.” La
8:13-23 “Foundation, FRE 402, 701, 802.” —
8:25 “Foundation, FRE 402, 701, 802.” nm
9:2-3 “Foundation, FRE 402, 701, 802.” Lb

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

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BRUCE SCOTT, JR., GEO 30(B)(6) DESIGNEE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cae Objection Sustained | Overruled
9:5 ‘Foundation, FRE 402, 701, 802.” pe
13:6-8 “Foundation, FRE 402, 701, 802.” i
13:16-18 “Foundation, FRE 402, 701, 802.” ~~
14:22-15:2 “Foundation, FRE 402, 701, 802.” L_-
16:2-3 “Foundation, FRE 402, 701, 802.” —
16:5-7 | “Foundation, FRE 402, 701, 802.” L~
17:5-15 “Foundation, FRE 402, 701, 802.” uu
17:22-18:4 “Foundation, FRE 402, 701, 802.” LY
18:14-19 “Foundation, FRE 402, 701, 802.” lL
18:21-24 “Foundation, FRE 402, 701, 802.” Ll”
19:1-3 “Foundation, FRE 402, 701, 802.” i
19:5-7 “Foundation, FRE 402, 701, 802.” Ll
23:22-24 | “Foundation, FRE 402, 701, 802.” LL
24:1 “Foundation, FRE 402, 701, 802.” u
24:24-25:3 “Foundation, FRE 402, 701, 802.”
28:9-18 “Foundation, FRE 402, 701, 802.” L~
28:20-29:6 ‘Foundation, FRE 402, 701, 802.” |
29:8-14 “Foundation, FRE 402, 701, 802.” lL“
30:17-31:2 “Foundation, FRE 402, 701, 802.” i“

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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BRUCE SCOTT, JR., GEO 30(B)(6) DESIGNEE
penn Objection Sustained Overruled
Page/Line
36:8-13 “Foundation, FRE 402, 701, 802.” bo
36:15-18 “Foundation, FRE 402, 701, 802.” i
36:20-37:2 | “Foundation, FRE 402, 701, 802.” in
61:23-62:24 | “Foundation, FRE 402, 701, 802.” a
64:11-21 “Foundation, FRE 402, 701, 802.” —
66:20-23 “Foundation, FRE 402, 701, 802.” ie
66:25-67:2 | “Foundation, FRE 402, 701, 802.” al
67:4-9 “Foundation, FRE 402, 701, 802.” lt
69:22-24 “Foundation, FRE 402, 701, 802.” lL
70:18-21 “Foundation, FRE 402, 701, 802.” L~
70:25-71:1 “Foundation, FRE 402, 701, 802.” i
71:3 “Foundation, FRE 402, 701, 802.” a
71:16-17 “Foundation, FRE 402, 701, 802.” L~
71:21-22 “Foundation, FRE 402, 701, 802.” L~
71:24 “Foundation, FRE 402, 701, 802.” |“
72:1-2 “Foundation, FRE 402, 701, 802.” uv“
72:4 “Foundation, FRE 402, 701, 802.” uv“
74:6-18 “Foundation, FRE 402, 701, 802.” uv
75:14-20 “Foundation, FRE 402, 701, 802.” Y :

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’

SCHROETER GOLDMARK & BENDER
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DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

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BRUCE SCOTT, JR., GEO 30(B)(6) DESIGNEE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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79:6-11 “Foundation, FRE 402, 701, 802.” ie
85:3-20 “Foundation, FRE 402, 701, 802.” a

85:22 “Foundation, FRE 402, 701, 802.” LL

85:24-86:4 | “Foundation, FRE 402, 701, 802.” oo

86:19-87:1 “Foundation, FRE 402, 701, 802.” —

87:4-88:12 | “Foundation, FRE 402, 701, 802.” LL
88:14-20 “Foundation, FRE 402, 701, 802.” in
89:5-23 “Foundation, FRE 402, 701, 802.” Le

89:25-90:11 “Foundation, FRE 402, 701, 802.” a“
90:13-25 - “Foundation, FRE 402, 701, 802.” L~
91:8-20 “Foundation, FRE 402, 701, 802.” uu
92:3-4 “Foundation, FRE 402, 701, 802.” Ll
92:6-23 “Foundation, FRE 402, 701, 802.” —
94:21-22 “Foundation, FRE 402, 701, 802.” a
94:24-25 “Foundation, FRE 402, 701, 802.” uu
98:15-18 “Foundation, FRE 402, 701, 802.” -

102:22-25 “Foundation, FRE 402, 701, 802.” pe
112:13-20 “Foundation, FRE 402, 701, 802.” ie

 

 

 

 

 

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DEPOSITION DESIGNATIONS AND
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8:14-9:13 “Foundation, FRE 402, 701, 802.” a
8:15-16 | “Foundation, FRE 402, 701, 802.” i
15:23-16:13 | “Foundation, FRE 402, 701, 802.” —
19:1-9 “Foundation, FRE 402, 701, 802.” a
22:2-23:2 “Foundation, FRE 402, 701, 802.” a
24:18-25:16 | “Foundation, FRE 402, 701, 802.” Le
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61:11-62:21 “Foundation, FRE 402, 701, 802.” ~~
65:13-15 “Foundation, FRE 402, 701, 802.” i
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66:5-6 “Foundation, FRE 402, 701, 802.” L-

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
DEFENDANT’S OBJECTIONS - 16
(17-cv-05769-RJB )

SCHROETER GOLDMARK & BENDER

810 Third Avenue » ‘Suite 500 « Seattle, WA 98104

Phone (206) 622-8000 © Fax (206) 682-2305

 

 
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74:3-4 “Foundation, FRE 402, 701, 802.” LL
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12:11-21 “Foundation, FRE 402, 701, 802.” L~
12:25-13:13 | “Foundation, FRE 402, 701, 802.” i
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18:23-19:6 | “Foundation, FRE 402, 701, 802.” L~
21:5-22:14 | “Foundation, FRE 402, 701, 802.” L~

21:16-19 “Foundation, FRE 402, 701, 802.” a
TABLE IDENTIFYING PLAINTIFFS’ SCHROETER GOLDMARK & BENDER
DEPOSITION DESIGNATIONS AND Pm pone (208) 622-8000 « Fax (206) 6822305

DEFENDANT’S OBJECTIONS - 17
(17-cv-05769-RIB )

 

 

 
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23:2-8 “Foundation, FRE 402, 701, 802.” ie
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23:15-24 “Foundation, FRE 402, 701, 802.” i
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36:16-25 “Foundation, FRE 402, 701, 802.” Ce
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38:2-10 “Foundation, FRE 402, 701, 802.” ue

 

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

SCHROETER GOLDMARK & BENDER
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39:3-40:8 | “Foundation, FRE 402, 701, 802.” it
40:16-41:19 | “Foundation, FRE 402, 701, 802.” a
41:25-42:2 | “Foundation, FRE 402, 701, 802.” i
42:4-14 “Foundation, FRE 402, 701, 802.” —
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44:5-46:3 | “Foundation, FRE 402, 701, 802.” L
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46:11-18 | “Foundation, FRE 402, 701, 802.” LY
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§1:2-2] “Foundation, FRE 402, 701, 802.” i
51:23 “Foundation, FRE 402, 701, 802.” L—
52:10-16 | “Foundation, FRE 402, 701, 802.” a
52:18 “Foundation, FRE 402, 701, 802.” a
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S412 “Foundation, FRE 402, 701, 802.” LL
56:1-3 “Foundation, FRE 402, 701, 802.” lL
56:5-12 “Foundation, FRE 402, 701, 802.” Y
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59:4-10 | “Foundation, FRE 402, 701, 802.” un

 

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

SCHROETER GOLDMARK & BENDER
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59:13-22 “Foundation, FRE 402, 701, 802.” a
60:4-15 “Foundation, FRE 402, 701, 802.” iw
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64:24-65:15 | “Foundation, FRE 402, 701, 802.” |
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75:21-22 “Foundation, FRE 402, 701, 802.” Ue
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76:7-22 “Foundation, FRE 402, 701, 802.” L~
80:22-24 “Foundation, FRE 402, 701, 802.” pe
81:3-17 “Foundation, FRE 402, 701, 802.” we
81:19-22 | “Foundation, FRE 402, 701, 802.” Lw
81:24-25 | “Foundation, FRE 402, 701, 802.” i
82:2-3 | “Foundation, FRE 402, 701, 802.” (f
82:14-18 “Foundation, FRE 402, 701, 802.” ~~

 

 

 

 

 

 

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
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(17-cv-05769-RJB )

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88:3-25 | “Foundation, FRE 402, 701, 802.” t-
89:2 “Foundation, FRE 402, 701, 802.” L~
93:3-9 “Foundation, FRE 402, 701, 802.” L~

 

 

 

 

 

 

DATED at Seattle, Washington this 15th day of May, 2020.

TABLE IDENTIFYING PLAINTIFFS’
DEPOSITION DESIGNATIONS AND
DEFENDANT’S OBJECTIONS - 21
(17-cv-05769-RJB )

SCHROETER GOLDMARK & BENDER

s/ Jamal N. Whitehead

Adam J. Berger, WSBA #20714

Lindsay L. Halm, WSBA #37141

Jamal N. Whitehead, WSBA #39818

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